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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
VS.                                             §   CASE NO. 1:07-CR-236(3)
                                                §
JEFFEREY JAMON GRANT                            §


         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       The District Court referred this matter to the undersigned United States Magistrate Judge

for administration of a guilty plea and allocution under Rules 11 and 32 of the Federal Rules of

Criminal Procedure. Magistrates have the statutory authority to conduct a felony guilty plea

proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United States v. Bolivar-

Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

       On August 8, 2008, this cause came before the undersigned United States Magistrate

Judge for entry of a guilty plea by the Defendant, Jeffery Jamon Grant, on Count 4 of the

charging Superseding Indictment filed in this cause. Count 4 of the Superseding Indictment

charges that on or about the 30th day of November, 2007, in the Eastern District of Texas, Jeffery

Jamon Grant, Defendant herein, having been convicted of a crime punishable by imprisonment

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for a term exceeding one year1, did knowingly possess in and affecting commerce a firearm, to

wit: one (1) IMEZ, Model IJO70-18A, .380 caliber pistol, bearing serial number J052707, in

violation of Title 18, United States Code, Section 922(g)(1).

       Defendant, Jeffery Jamon Grant, entered a plea of guilty to Count 4 of the Superseding

Indictment into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.          That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.          That Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal.

       c.          That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

       d.          That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and


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           The Indictment also sets forth the specific case information about Mr. Grant’s prior felony convictions.

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Defendant realizes that his conduct falls within the definition of the crime charged under 18

U.S.C. § 922(g)(1).

                                STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented the following

evidence, which was admitted into the record at the plea hearing. See Factual Basis and

Stipulation. The Government and the Defendant agreed that if this case were to proceed to trial,

the Government would prove that Defendant is one and the same person charged in the

Superseding Indictment and that the events described in the Superseding Indictment occurred in

the Eastern District of Texas. The Government would also prove each essential element of the

charged offense beyond a reasonable doubt through the testimony of witnesses, including expert

witnesses, and through admissible exhibits.

       Specifically, the Government would prove that on November 30th, 2007, in Beaumont,

Texas, Robert Earl Wilson (Wilson), Anthony Lionel Jones (Jones), and Jeffery Jamon Grant

(Grant) conspired with one another to kidnap Michael Wayne Valmore (Valmore) for the

purpose of obtaining money and "crack" cocaine.

       Wilson directed Serrina Copeland (Copeland) to call Valmore and request that Valmore

deliver $200 worth of "crack" cocaine to her residence. When Valmore arrived at Copeland's

residence with the "crack" cocaine, Wilson, Jones, and Grant, wearing black ski masks,

kidnapped Valmore at gunpoint and brought Valmore to Valmore's residence. Wilson entered

Valmore's residence and demanded that Debra Kay Valmore (Valmore's wife) give them

Valmore's money and "crack"cocaine.


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       Wilson threatened to kill Valmore in the event that Valmore's wife telephoned the police

or failed to give them Valmore's money and "crack" cocaine. Wilson, Jones and Grant brought

Valmore to a remote, wooded location. Valmore was bound and blind-folded.

       Valmore's wife telephoned 911 and Beaumont, Texas, Police Department (BPD)

Sergeant Pat Barton (Sergeant Barton) was dispatched to Valmore's residence.

       Wilson used Valmore's cell phone to telephone Valmore's wife, repeating his demands

and threats, and eventually ordering her to place Valmore's money and "crack" cocaine in a

paper bag and drop it at the barber shop across from the S & R club at the intersection of

Concord and Brickyard in Beaumont (the Ransom-Drop Location).

       Valmore's wife located six "cookies" of "crack" cocaine and $1,200 cash secreted inside

Valmore's closet, and Sergeant Barton took custody of the "crack" cocaine. Sergeant Barton and

other BPD officers planned a "controlled drop" of the ransom as directed by Wilson, substituting

six peanut-butter cookies for the six "crack" cookies to simulate the controlled substance. BPD

officers set-up surveillance around the Ransom-Drop Location, and Sergeant Barton followed

Valmore's wife as she traveled to the Ransom-Drop Location to leave the bag containing the

money and simulated controlled substance.

       Grant and Jones immediately arrived at the Ransom-Drop Location and Jones retrieved

the bag of money and simulated controlled substance. Grant and Jones fled in Grant’s vehicle,

wrecked, and fled on foot until they were apprehended by BPD officers who had pursued them

from the Ransom-Drop Location. Officers found Jones with a black ski mask and a loaded

magazine for a Sig Sauer P220 pistol on his person. Officers also found Grant with jewelry on


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his person that was later determined to have been taken from Valmore during the kidnapping

       Officers further found an IMEZ pistol on the front floorboard of Grant’s vehicle, within

the reach of both front-seat occupants of the vehicle, Grant and Jones.

       When Grant and Jones did not return from the Ransom-Drop Location, Wilson drove

Valmore back to Valmore's vehicle, which was under surveillance by BPD officers.

       BPD officers arrested Wilson and discovered Valmore in the back seat of Wilson’s

vehicle, bound and partially blindfolded. Officers also discovered two handguns and a small

amount of "crack" cocaine located on the front floorboard of Wilson’s car. One of the handguns

was a Sig Sauer Model P220 .45 that matched the loaded magazine that was recovered from

Jones’ person.

       The firearm that was found in the possession of Grant and Jones, as set forth herein, is

described as follows: one (1) IMEZ, Model IJO70-18A, .380 caliber pistol, bearing serial

number J052707.

       The two firearms that were found in the possession of Wilson, as set forth herein, are

described as follows: one (1) Sig Sauer, Model P220, .45 caliber pistol, bearing serial number

G262059; and one (1) Norinco, Model 213, 9mm pistol, bearing serial number 312826. The

ammunition that was found in the possession of Jones, as set forth herein, is described as

follows: seven (7) rounds of CCI, .45 caliber ammunition.

       A nexus expert with Bureau of Alcohol, Tobacco, Firearms and Explosives (ATFE)

examined the three firearms in this case and determined that they had all been manufactured

outside the State of Texas and, therefore, affected interstate commerce.


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         Prior to this possession of the above listed firearms, Grant was finally convicted of the

felony offense of a crime punishable by imprisonment for a term exceeding one year, to wit:

Aggravated Robbery, a felony, in Cause Number 64866, in the 252nd District Court of Jefferson

County, Texas; and Aggravated Robbery, a felony, in Cause Number 64919, in the 252nd

District Court of Jefferson County, Texas, all on July 30, 1995.

         Defendant, Jeffery Jamon Grant, agreed with the facts set forth by the Government and

signed the Factual Basis. Counsel for Defendant and the Government attested to Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with the

evidence presented by the Government and personally testified that he was entering his guilty

plea knowingly, freely and voluntarily.

                                       RECOMMENDED DISPOSITION

         IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count 4 of the charging Superseding Indictment on file in

this criminal proceeding. The Court also recommends that the District Court conditionally

accept the plea agreement.2 Accordingly, it is further recommended that, Defendant, Jeffery

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           “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):

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Jamon Grant be finally adjudged as guilty of the charged offense under Title 18, United States

Code, Section 922(g)(1).

         Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

that the District Court may reject his plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court

may defer its decision to accept or reject the plea agreement until there has been an opportunity

to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

agreement, the Court will advise Defendant in open court that it is not bound by the plea

agreement and Defendant may have the opportunity to withdraw his guilty plea, dependent upon

the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

rejected and Defendant still persists in the guilty plea, the disposition of the case may be less

favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

allocute before the District Court before imposition of sentence.

                                                 OBJECTIONS

         Within ten (10) days after receipt of this report, any party may serve and file written

objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §



(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).

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636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

law and recommendations contained within this report within ten (10) days after service shall bar

an aggrieved party from de novo review by the District Judge of the proposed findings,

conclusions and recommendations, and from appellate review of factual findings and legal

conclusions accepted by the District Court except on grounds of plain error. Douglass v. United
      .
Serv. Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1). The

constitutional safeguards afforded by Congress and the courts require that, when a party takes

advantage of his right to object to a magistrate’s findings or recommendation, a district judge

must exercise its nondelegable authority by considering the actual evidence and not merely by

reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

1981) (per curiam).


                        SIGNED this the 8th day of August, 2008.




                                                          ____________________________________
                                                          KEITH F. GIBLIN
                                                          UNITED STATES MAGISTRATE JUDGE




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